       Case 1:24-mc-01344-DII    Document 12     Filed 12/04/24   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

HOMEVESTORS OF AMERICA,                    §
INC.,                                      §
Plaintiff                                  §
                                           §
v.                                         §    No. 1:24-MC-01344-DII
                                           §
WARNER BROS. DISCOVERY,                    §
INC.,                                      §
Defendant                                  §


      ORDER RESCHEDULING HEARING ON MOTION TO COMPEL

      Before the Court is Defendant Warner Bros. Discovery, Inc.’s motion to compel

compliance with the Rule 45 subpoena directed to Calise Partners, LLC, which the

District Judge referred to the undersigned. Dkt. 1. The undersigned previously

ordered the parties to appear for a hearing by Zoom on January 13, 2025. Dkt. 9. This

order serves to reschedule that hearing.

      Accordingly, the hearing set for January 13, 2025, Dkt. 9, is HEREBY

CANCELED.

      The parties are further ORDERED to meaningfully confer telephonically or

in person regarding the issues in each party’s motion and FILE a Joint Advisory with

the Court before 2:00 p.m. on Tuesday, January 14, 2025. The advisory should

discuss the parties’ conference, identify any remaining disputed issues that will

require resolution by the undersigned, and set forth briefly the parties’ respective

positions on each remaining issue. Additionally, the parties must serve on opposing

counsel any demonstrative exhibits or presentation materials intended to be used

                                           1
       Case 1:24-mc-01344-DII    Document 12     Filed 12/04/24   Page 2 of 2




during the hearing by 5:00 p.m. of the business day prior to the hearing. Please

also   send   a    copy   of    any   demonstratives     to   Natalie    Bayer,   at

Natalie_Bayer@txwd.uscourts.gov, by 5:00 p.m. of the business day prior to the

hearing.

       IT IS FURTHER ORDERED that the parties are TO APPEAR for a ZOOM

hearing before the undersigned on Friday, January 17, 2025, at 10:00 a.m. The

hearing will last no more than 1 hour, with each side afforded 30 minutes to make its

arguments.

       SIGNED December 4, 2024.



                                      DUSTIN M. HOWELL
                                      UNITED STATES MAGISTRATE JUDGE




                                         2
